Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 1 of 26 Page ID #:300




                        EXHIBIT A
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 2 of 26 Page ID #:301


                                Specialized Attorney Services
                                             1055 Wilshire Bful- Unir 1550
                                                 Los Angeles Ca V00J 7
                                                I'll one: (523)445-0(132


                                                                                                  *43?
 PaperID: 16418432                                          ClientFNc: 19-50549

 Type of Document: SI IT                                    Serve By Date:
 Client Name:                                               Defendant Name;
 P&FCA (S&C)                                                ALKKSIA M HFf'NCH




[Court                                                                                            CascNo: |
 SUPERIOR COURT COUNTY OF SAX RPRXARD1NO
247 Wesf Third Slreci
San Bernardino C'A 924 1 5
 Place of Service:
 Home-:
                                                           Work:
 RANCHOC'UCAMONUA CA 91730-9737




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                                                                                      Initial?)
Issued Wi n      < )pened           Served                K)S Signed         Closed
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 3 of 26 Page ID #:302

                 SUPERIOR         COURT    OF    CALIFORNIA,            COUNTY       OF    SAN    BERNARDINO




San     Bernardino          District            Civil
247     West     Third Street


San Bernardino,              CA.       924150210



                                                                        CASE NO;          CIVDS1931160
    RAYMOND A PATENAUDE
    4545 MURPHY CANYOND                 ROAD
    3RD    FLOOR
    SAN    DIEGO    CA      92123
                                                  NOTICE         OF TRIAL          SETTING       CONFERENCE



IN RE:     NATIONAL          COLLEGIATE          STUDENT LOAN-V-HEPNER


THIS      CASE   HAS     BEEN ASSIGNED TO:                BRIAN S MCCARVILLE                   IN DEPARTMENT     S30
FOR ALL        PURPOSES.


Notice is hereby given that the above-entitled case has been set for
Trial Setting Conference at the court located at 247 West Third Street
San Bernardino, CA  92415-0210.

               HEARING DATE:             04/21/20         at     8:30    in       Dept.    S30




DATE:      10/24/19          Nancy Eberhardt,                  Court    Executive Officer
                                                                                            By:   GLORIA   MARIN




                                 CERTIFICATE         OF    SERVICE


I am a Deputy Clerk of the Superior Court for the County of San
Bernardino at the above listed address. I am not a party to this
action and on the date and place shown below, I served a copy of the
above listed notice :
        Enclosed       in    a    sealed    envelope mailed                  to    the    interested party
<
addressed above,                 for   collection and mailing                      this   date,     following
standard         Court      practices.
( ) Enclosed in a sealed envelope, first class postage prepaid in the
U.S. mail at the location shown above, mailed to the interested party
and addressed as shown above,                         or as shown on the attached listing.
(   )   A copy of        this      notice      was    given to          the       filing party at       the    counter
    A copy of this notice was placed in the bin located at this office
and identified as the location for the above law firm's collection of
file      stamped documents.

Date of Mailing:                 10/24/19
I declare under penalty of perjury that the foregoing is true and
correct.         Executed on 10/24/19 at San Bernardino,                                  CA

                                                                       BY:    GLORIA      MARIN
            Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 4 of 26 Page ID #:303


                                                                                                                                                              SUM-10Q

                                              SUMMONS                                                                     SUPEi
                                                                                                                                          msm     RNIA
                                         (CiTACtON JUDICIAL)                                                               COI                 mmINO
                                                                                                                            SAN BERNARDINO DISTRICT
 NOTICE TO DEFENDANT(S):
 (AVISO AL DEMANDADO):
 ALEK SIA M HEPNER                                                                                                              OCT 21 2019

 and DOES 1 through 1 5, inclusive
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                    BY
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                            GLORIA MARIN. DEPUTY
 NATIONAL COLLEGLATE STUDENT LOAN TRUST 2007-1, A
 DELAWARE STATU TORY TRUST(S)
  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days, Read the information
  below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protGCt you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form ihat you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center ( wivvv. courinfo.ca.gov/setfti9li) ), your count/ law tlhrary, or iha courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a lee waiver form. If you do not file your response on time, you may lo3e the case by default, and your wages, money, and property
  may bo taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do r»t know an attorney, you may want to call an attornay
  referral service. If you cannot afford an attorney, you may be eligible for free le^al services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Sen/ices Web site (^vww.lawftetpcaiifornia, org), the California Courts Online Self-Help Center
  (wMV.courtlnfo.ca.QOv/seffbetp), or by contacting your local court or county bar association. NOTE: The court has a statutory llan for waived (qbs and
  costs on any settlement or arbitration award of $1 0,000 or more in a civil case. Tha court's lien musl bs paid before the court will dismiss the case.
  A VISOt Lo ban demandado. Si no responde dentro de 30 dies, la corte puede detidir en su contra sin oscuchar su version. Lea la information a
  continuation.
     Irene 30 DIAS DE CALENDARIO despuAs do quo lo entregven esta citation y papeles legates para presenter una rcspucsta porescnto on este
  corte y hacor que so entregue una copia a! o'emandante. Una carta o una tlamada tolGt6nica no 10 protogon. Su respueaia par eacrilo tlene que estar
  en forma lo legal correcto si o'esea que procesen su caso en la corte. £s posibie quo nay a on formularlo que ostedpueda usar para su rcspucsta.
  Puede encontrar estos formuiorlos do lo corte y mas information en el Cenlro de Ayuda de las Cortes de California (wAW.sucorte.ca.gov). on to
  blbllotece de byes de su cendado o en la corte que le quede mds cetca. Si no puede pagor lo cuota do presentatidn, pida el sacrefano de fa corte
  que fe de un formularlo dc c/crcldn de pago de cuotas. SI no presents su rospuesla a tiernpo, puede perder el caso porlncumptimicnlo y la corte le
  podri quitar su suelo'o. dlnero y blenes sin mA$ adve/tentia.
    Hay otros requisites legates. Es recomendaOle que Ha me a un abogado Irmodlatoimnte. SI no conoce a un abogado, puede llamar a un servitio de
  remislon a abogados. Si no puede pager a un abogao'o. os posible que cumpla con ios requlsitos pare obtener sen/itios legates gratuttos o'e un
  programa de sorvidos legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el srtio rveb de California Legal Services,
  (w%vw. lawhelpcallfornia.org), en el Centro de Ayuda de las Cortes de California, |\ww. sucorte.ca.gov) o pontendose en contacio con 'a corf© o el
  colegio de abogados locales. AVISO: Portay, la corte tlene derecho a retiamar las cuotas y Ios costos exentos por imponerun gravamen sobrc
  cuatquier rccuporacion de $10,000 o mas de valor rgtibida mediants un acuerdo o una concesion de arbitrate en un caso de derecho civil. Tlene que
 pagan el gravamen de la coda antes de que la corte pueda desechar cl caso.

The name and address of the court is:                                                                            c
(El nombre y direction de ia corte es):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
                                                                                                                 i
                                                                                                                     I8M8S 19 3 1 1 SO-
 SAN BERNARDINO JUSTICE CENTER - UNLIMITED CASE
 247 WEST 3RD STREET SAN BERNARDINO CA 924 1 5
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:
(El nombre, la direction yet numero de letdfono del abogado del demandante, o de! demandante que no tiene abogado, cs):

LAW OFFICES OF PATENAUDE & FELIX, AP.C.
Raymond A. Patent (S1 28865) /Michael D. Ksta (#236890) / Stephanie J. Etone (#160162)
Todd C. Simonson (»224346) / Adam Michael Rivera (#321236) /' Ange Kong Hoar (#212152)
1545 Murphy Canyon Road, 3rd Floor. San Diego, C A 92123
Telephone No. (858) 244-7600                                                                       Gloria Marin
DATE:
(Focha)
                             OCT 1 1 2019                                           CJerk, by
                                                                                    (Sec/etario)
                                                                                                                                                           , Deputy
                                                                                                                                                           (Adjunto)
IFor proof of sor/ice of this summons, use Proof of Sand ce of Summons (form POS-O10).)
(Para prueba de entrege de este citation use e! formulario Proof of Service of Summons, (POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
  ;seal)                                          as an individual defendant
                                   iS             a6 the person sued under the fictitious name of (specify):


                                   3. Q           on behalf of (specify):

       COPY                              under:
                                                      _
                                                           CCP 416.10 (corporation)
                                                           CCP 416.20 (defunct corporation)
                                                                                                               _ CCP 416.60 (minor)
                                                                                                               _ CCP 416.70 (con3ervatee)
                                                      _    CCP 416.40 (association or partnership)             J CCP 416.00 (autlvarized peman)
                                                   _J other (specify):
                                   4 j    |   by personal del-very on (dale):                                                                        Page 1 eft
 c»m         »or Mnrxlafcyy Use                                                                                                       Code Ot Cl vl Pionodtiro §§      465
 Judbiol Cojrcl of Caiftvnia
 SUM. 103   |Rcv .Inly"   2uM;                                              SUMMONS


CA 02 EFiJe SUM-HJO                                                            P&V Pile No. 19-50540
                   Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 5 of 26 Page ID #:304


                                                                                                                                                                                    CM-010
       ATTORNEY OR PARTY WITHOUT ATTORNEY fiVaroe. Slate Bar numdw, and edtir&ss/:                                                              FOR COUR T USE QUI Y
       LAW OFFICES OF PATENAUDE & FELIX, A.P.C.
       Raymond A. Polenaude (#128855)          Midiae' D. Kahn (#236898) /Steptene J. Boone (#160182)                                               FILED
                                                                                                                                   SUPERIOR COURT OF CALIFORNIA
       Todd C. Simonson (#224348) / Adam Mchad Rivera (#321236) Angie Hong Hoar (#212152)
                                                                                                                                    COUNTY OF SAN BERNARDINO
       4545 Murphy Canyon Road. 3rd Floor, San Diego, CA 92123                                                                          SAN BERNARDINO DISTRICT

                   TELEPHONE NO.: S5S-244-7675                                   FAX NO.: (858) 836-03 IS
            ATTORNEY FOR (NomaJ: PLAINTIFF

        SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
                                                                                                                                                OCT 21 2019
             STREET ADDRESS:           24? WEST »P.n STREET
             MAILING ADDRESS:          247 WES I SltU STRHKT
            CITY AND Z\ P CODE:        SAN BERNARDINO CA 924 ] 5
                                                                                                                              BY
                   BRANCH NAME:        SAN RF.R N A R 151 NO JUSTICE. CENTER - UNLIMITED CASH.                                                   GLORIA MARIN, DEPUTY

            CASE NAME: NATIONAL- COLLEGIATE STUDENT LOAN TRUST 2CC7-J, A DELAWARE
            ST A I'UTOKY TKUST(S) VS. ALBKSJ A M HRPNFR,

                   CIVIL CASE COVER SHEET
        [5<] Unlimited                  I | Limited
                                                                                 Complex Case Designation
                                                                                                                                                             1S311gQ..
                                                                            I | Counter          Q Joinder
              (Amount                       (Amount                                                                            JUDGE:
              demanded                      demanded is                     Filed with first appearance by defendant
                                                                                                                                 DEPT:
              exceeds $25.000)              $25,000 or lass)                    (Caf- Rules ol Couri, rule 3.402)
                                                          Items 1 -5 below must be completed (see Instructions on page 2).
       1.            Check one box below for the esse type ihat best describes this case:
             Auto Tort                                                 Contract                                       Provisionally Complex Civil Litigation
                   Auto (22)                                                  Breach of coni/actAvarranty (06)        (Cal. Rules of Court, rules 3.400-3.403)

             !:l   Uninsured motorist (48)

             Other PI/PD/WD (Personal Ir^ury Property
                                                                              Rul 3.740 collections (09)
                                                                              Other collections (09)                  _
                                                                                                                           AntitnistTrade regulation (03)
                                                                                                                           Construction defect (10)
             DamageANrongful Death) Tort                                      Insurance coverage (18)                 I] Maas tort (40)
             Z] Asbestos (04)                                                 Other contract (37)                          Securities litigation (26)
             _     Product liability (24)                                                                             _    Environrnental/Toxic tort (30)
                                                                       Real Property
                   Medical malpractice (45)                                                                                Insurance coverage claims arising from the
                                                                       I \ Eminentdorrvairx'fovems                           above listed provisionally complex case
                   Other PL/PD/WD (23)                                          condemnation (14)
                                                                                                                              lypea (41)
             Non-PI/PD/WD (Other) Tort                                        Wrongful eviction (33)
                   Business tortfonfalr business practice (07)
              ~ Civil rights (OS)
                                                                       B      Ol)w real properly (26)

                                                                       Unlawful Detainer
                                                                                                                      Enforcement ot Judgment
                                                                                                                           Enforcement of judgment (20)
                                                                                                                      Miscellaneous Civil Complaint
             _     Defamation (13)                                     _      Commercial (31)
                                                                                                                        ~ RJCO(27)
                   Fraud (16)
                   I nfellectua I property (1 9)
                                                                              Residential (32)
                                                                              Drugs (33)                             B     Other complaint (not specified above) (42)

                                                                                                                      Miscellaneous Civil Petition
              _    Professional negligence (25)                        Judicial Review
                                                                                                                           Partnership and corporate governance (21 )
             Z) Other non-PI/PDAVD tort ( 35)
            Employment
                                                                       Z Asset forfeiture (05)
                                                                              Petition re: arbitration award (11)
                                                                                                                     B     Other petition (not specified above) (43)

            Q Wrongful termination (36)                               |_j writ of mandate (02)
                   Other employment (15)                              f~1 Other judicial review (39)
   2. This case fZ'3                  is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the (actors requiring exceptional
            judicial management:
                     Large number of separately represented parties                                 Large number of witnesses

            :8       Extensive motion practice raising difficult or novel
                          issues that will be time-consuming to resolve
                                                                                            :B      Coordination with related actions pending in one or more courts
                                                                                                        in other counties, states, or countries, or in a federal court
       c. BB Substantial amount of documentary evidence                                  f.    Substantial posl-judgment judicial supervision
   3. Remedies sought (check all that apply): a. [X] monetary                      b. O non-monetary; declaratory or injunctive relief c. ZJ punitive
   4. Number of causes of action (specify): ONE
   5. This case Q ls E '3 no' 3 clas3 action suit.
   6. If there are any known related cases, file and serve 3 notice of related case. (You may use form CM-015)

   Date: September 06, 20 J 9
   [ 1 RAYMOND A. PATENAUDE                        ( ) MICHAEL D. KAHN
   |   J STKI'llAMl! J.IIOOM!                      I   i ronr c. simonson

   [ ] ADAM MICHAEL RIVEPA                         ( ] ANGIE HONG HOAR
                                                                                                                                             ISI
                                        (TYPE OR PRINT NAME)                                                        'SIGNATURE Or PARTY OR ATTORNEY TOR PAR1V?

                                                                                           NOTICE
       • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed under the Probate
         Coda. Family Cede, or Welfare and Institutions Code). (Cel. Rules of Court, rule 3.220.) Failure to file may result iri sanctions.
       « File this cover sheet in addition to any cover sheet required by local co t*1 rule.
       • If this case is complex under rule 3.400 et soq. of the California Rules of Court, you must sen/e a copy of this cover sheet on all other pertles to the
          action or proceeding.
       • Unless this is a collections case under rule 3.740 or a complex case, this cover 3heet will be used tor statistics! purposes only.
                                                                                                                                                                                     P*»o 1 o» 2

       Fnrnn AropwO fn- Mandatory                                                                                                  Col Rf.lv. ;f Cto'.rt, n,«s 2 JO. WTO, 3 4004 40A 3 740;
       J.inbalCoi.nnil rf Cjlfomii)
                                                                             CIVIL CASE COVER SHEET                                            SlanrlaMs       .h*lici?l A<Sfrin«1rat)nn, std 3 10
       CM-JU :R0V Ally 1. 2U1I7J                                                                                                                                          WV.COlXBrfO 0-9 90V



CA U) ll'ile Civil Case Cover                                                          Mfcl' I ile No. 19-511549
            Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 6 of 26 Page ID #:305


                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

 To Plaintiffs and Others Filing First Papers. If you are filing a first paper {for example, a complaint) in a civil case, you must complete and
 file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile statistics about the
 types and numbers of cases filed.         You must complete items 1 through 6 on the sheet.             In Item 1. you must check one box for the case type
 that best describes the case.        If the case fits both a general and a more specific type of case listed In Item 1, check the more specific one.                If
 the case has multiple causes of action, check the box that best indicates the primary cause of action.                     To assist you completing the sheet,
 examples of the cases that belong under each case type in item 1 are provided below.                      A cover sheet must be filed onfy with your initial
 paper. You do not need to submit a cover sheet with amended papers.                    Failure to file a cover sheet with the first paper filed In a civil case
 may subject a party, its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

 To Parties in Rule 3.740 Collection Cases. A "collection case' Under rule 3.740 is detined as an action for recovery of money owed in a
 sum stated to be certain that Is not more than 325.000, exclusive of Interest and attorney's tees, arising from a transaction in which property,
services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort damages, (2) punitive
damages, {3) recovery of real property, (4) recovery ot personal property, or (5) a prejudgment writ of attachment. The identification of a case
as rule 3.740 collections case on this torm means that it will be exempt torm the general tinie-for-service requirements and case
management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject to the requirements for
service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the case is
complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by completing the
appropriate boxes in items 1 and 2.          If a plaintiff designates a case as complex, the cover sheet must be served with the oom plaint on all
parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the plaintiffs designation, a
counfer-<ieslgnation that the case Is not complex, or, if the plaintiff has made no designation, a designation that the case is complex.

                                                                 CASE TYPES AND EXAMPLES
 Auto Tort                                           Contract                                              Provisionally Complex Civil Litigation {Cal.
     Auto (22)— Personal Injury/Property                 Breach of Contract/Warranty (06)                  Rulas of Court Rules 3.400-3.403)
        Damage/Wrongful Death                               Breach of Rental/Lease                             Antitrust/Trade Regulation <03)
     Uninsured Motorist (46) (It the                            Contract (no! unlawful detain a.' or           Construction Defect (1 0)
          ess© involves a.n uninsured motorist                       wrongful eviction)                        Claims Involving Mass Tort (40)
          claim subject to                                    ConiracvWarranty Breach—Seller                   Securities Llilgatlon (23)
          arbitration, chert this item                           Plairillfl (not trend or negligence)          Environmental/Toxic Toil (30)
          instead of Auto)                                    Negligent Breach of Contract/ Warranty                 Insurance Coverage Claims
                                                              Other Bread) of ContradM'arraniy                      {arising from provisionally
 Otlior PI/PD/WD (Personal Injury/ Property
                                                          Colledions (e.g.. money osved, open book                  complex case type listed above)
 Damage/Wrongful Death)
                                                              accounts) (09)                                        (41)
 Tort
                                                              Collection Case—Seller Plaintiff
      Asbestos (04)                                                                                        Enforcement of Judgment
                                                              Other Promissory Note/Collections
         Asbestos Property Damage                                                                              Enforcement of Judgment (20)
                                                                 Case
         Asbestos Personal Injury/                                                                                 Abstract of Judgment ( Out of
                                                          Insurance Coverage (not provisionally
              Wrongful Death                                                                                            County)
                                                              complex) ( 18)
      Product Liability (not asbestos or                                                                       Confession of Judgment (non-
                                                              Auto Subrogation
          (oxic/onvironmenlal) (24)                                                                                 domasllc relations)
                                                             Other Coverage
      Medical Malpractice (45)                                                                                 Sister State Judgment
                                                          Other Contract (37)
          Medical Malpractice—                                                                                 Administrative Agency Award
                                                             Contractual Fraud
              Physicians & Surgeons                                                                                  (not unpaid tax as)
                                                              Olher Contract Dispute
          Other Professional Health Care                                                                       Petltlon'Certification of Entry ot
               Malpractice                           Real Property                                                  Judgment on Unpaid Taxes
      Other PI/PD/WD (23)                                 Eminent Domain/Inverse Condemnation                  Other Enforcement of Judgment
          Premises Liability (e.g., slip                      (14)                                                 Case
              and tall)                                   Wrongful Eviction (33)
          Intentional Bodily Injury/PD/WD                 Other Real Property (e.g., quite title) (26)    Miscellaneous Civil Complaint
               (e.g.. assault, vandalism)                    Writ of Possession of Real Properly               RICO (27)
          Intentional Infliction of                          Mortgage Foreclosure                              Other Complaint (not specified
               Emotional Distress                             Quite Title                                          above) (42)
          Negligent Infliction of                             Other Real Property (not eminent                     Declaratory Relief Only
               Emotional Distress                             domain, landlord/tenant, or foreclosure)             Injunctive Relief Onlyfoon-
          Other PI/PD/WD                                                                                                harassmenl)
                                                     Unlawful Detainer                                              Mechanics Lien
 Non-PI/PD/WD (Olher) Tort                                Commercial (31)                                           Other Commercial Complaint
     Business Tort/Unfair Business                        Residential (32)                                                 (non-tort/non-complox)
          Practice                                        Drugs (38) (if the case involves illegal
     Civil Rights (e.g.. discrimination,                     drugs, check this Item; otherwise, report    Miscellaneous Civil Petition
          fatso arrest) (not civil                            as Commercial or Residential)                   Partnership and Corporate
          harassment) (08)                                                                                         Governance (21)
                                                     Judicial Review                                           Other Petition (not specified above)
      Defamation (e.g., slander, libel)
                                                         Asset Forfeiture (05)                                     (43)
          (13)
                                                         Petition Re: Arbitration Award (11)                       Civil Harassment
      Fraud (16)
                                                         Writ of Mandate (02)                                      Workplace Violence
      Intellectual Property (19)
                                                             Writ— Administrative Mandamus                         Elder/Dependent Adult
      Professional Negligence (25)
                                                             Writ- Mandamus on Limited Court                             Abuse
          Legal Malpractice
                                                                 Case Matter                                       Election Conlest
          Other Professional Malpracfice
                                                             Writ— Other Limited Court Caso                         Petition for Name Change
              (non medical or legal)
                                                                Review                                              Petition for Relief from Late
      Other Non-PI/PD/WD Tort (35)
                                                         Olher Judicial Review (39)                                       Claim
Employment                                                    Review or Health Officer Order                        Other Civil Petition
   Wrongful Termination (36)                                  Notice of Appeal — Labor
      Other Employment (15)                                       Commissioner Appeals

            Jam*iy '.AXI7J                                                                                                                          P.lfli l l>i I
                                                            CIVIL CASE COVER SHEET

C A 01 F.Fili: Civil Ow Covur                                            P&FFifcNe.      19-50549
              Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 7 of 26 Page ID #:306


                                                                                                                                                                         PLD-C-001
   ATTORNEY OR PARfY WITHOUT ATTORNEY (Nut/6. StaiB B6< Mirtlfcft', HM a«Pe(*,V                                                             FOR COURT USE ONLY


    LAW OFFICES OF PATENAUDE & FELIX, A.P.C.                                                                                                    FILED
   RaynxndA. Patenaude (#128555) I Michael D. Kahn {S236896)/ Stephanie J. Boon e (#160182)                                        SUPERIOR COURT OF CALIFORNIA
                                                                                                                                    COUNTY OF SAN BERNARDINO
   Todd C. Siironscr (#224346)/ Mam Michel Rivera (#321236)/ Arpe Hcng Hear (#212152)
                                                                                                                                     SAN BERNARDINO DISTRICT
   4545 Murphy Canyon Road, 3rd Floor, Sari Diego. CA 92123

               TELEPHONE NO.; (858) 244-7600                    FAX NO. lOptionat): (858) 836-031 8
                                                                                                                                             OCT 21 2019
    E-MAI L ADDRESS (Options)): Michael . K.ahtl@pattd I . us
       ATTORNEY FOR (Name): PLAINTIFF
                                                                                                                              BY
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
                                                                                                                                              GLORIA MARIN. DEPUTY
                                        247 WEST 3RD STREET
              STREET ADDRESS
                                        247 WEST 3RD STREET
           MAILING ADDRESS
    CITY STATE AND 21 P CODE :          SAN BFR ^'A R rilNO CA 924 1 5
                   BRANCH NAME ;        S AN BFR N AROINO JUSTICE CENTER - UNI IMITBD CASE


             plaintiff:       NATIONAL COLLEGIATE STUDENT LOAN TRUST
   2007-1, A DELAWARE STATUTORY TRUST(S)

      DEFENDANTS):            ALEKSIA M HEFNER,
             and DOES 1 through 15, inclusive


                                                     CONTRACT

    IE)        COMPLAINT                                AMENDED COMPLAINT (Number):
               CROSS-COMPLAINT                          AMENDED CROSS-COMPLAINT (Number)
   Jurisdiction (check all (hat apply):                                                                                   CASE NUMBER:
          ACTION IS A LIMITED CM L CASE
          Amount demanded \Z\ does not exceed $10,000
                             Q exceeds $10,000 but does not Bxcaed $25,000
          ACTION IS AN UNLIMITED CML CASE (exceeds $25,000)                                                              3!V DS                 1 93 1 1 6 0 -
       ACTION IS RECLASSIFIED by this amended complaint or cross-compiaint
              from limited to unlimited
          H   from unlimited to limited

   1. Plaintiff* (name or names): NATIONAL COLLEGIATE STUDENT LOAN TRUST 2007-1, A DELAWARE
   STATUTORY TRUST(S)

    alleges causes of action against defendants)* (name or names): ALEKSIA M HEFNER, and DOES 1 through 15, inclusive

  2. This pleading, including attachments and exhibits, consists of the following number of pages: 17

  3. a.     Each plaintiff named above Is a competent adult

            B except plaintiff (name): NATIONAL COLLEGIATE STUDENT LOAN TRUST 2007-1, A DELAWARE
              STATUTORY TRUST(S)
               (1) | la corporation qualified to do business In California
               (2)       an unincorporated entity (describe): a Delaware Statutory Tmsr(s)
               (3)     other (specify):
       b.        Plaintiff (name):
              a.      has complied with the fictitious business name laws and Js doing business under the fictitious name (specify):
              b.        has complied with all licensing requirements as a licensed (specify):
       c. [T Information about additional plaintiffs who are not competent adults is shown in Attachment 3c.
  4. a. Each defendant(s) named above is a natural person
                except defendant (name):                                                          except defendant (name):
               {1 } Q a business organization, form unknown                                        (1 ) CH a business organization, form unknown
               (2)Q a corporation                                                                  (2)L3 a corporation
               (3)0 an unincorporated entity (describe):                                           (3)Q an unincorporated entity (describe):
               <4>Q a public ©ntity (describ e):                                                   (4) I I a pu bli c entity (describe) :
               (5) Q      othe r (specify) :                                                       (5) O other (specify):
                                  *lf Chle form la nsBd as a cross-complaint, plaintiff means cross-complainant and ttefenrtant means oross-defendant.                   Pap* 1 of 2


  Form Approved tor Optional UEe
                                                                          COMPLAINT— Contract                                                      Cone of Cmi procure. § 425.12
     Judicial Council of California
  PLO-C-C01 [Rev. January 1 , 20071



f. A_03R EFile C'uiiipbiiiil Contincl                                                                                                              J-'ilc No. 19-50549
               Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 8 of 26 Page ID #:307


                                                                                                                                                         PLD-C-001
       SHORT TITLE: NATION AT. COT. I .EC'IATP STITOFK'T I OAV TRUST 2(107- i, A DFJ .A WARR STATUTORY                       CASE NUMBER:

       TRIJSJ(S) VS. ALEKS1A M Hh'PNBR.

      4. (Continued)

          b.    The true names of defendant(s) sued as Does are unknown to plaintiff.

               (1) EH Doe defendants) (specify Doe numbers):                                      were the agents or employees of the named
                         defend ent(s) and acted within the scope of that agency or employment.

               (2) [X] Doe defendant(s) (specify Doe numbers): 1 through 15                       are persons whose capacities are unknown to
                         plaintiff.
         c.    EH Information about additional defendants who are not natural persons is contained in Attachment 4c.
         d.    EH Defend a nt(s) who are joined under Code of Civil Procedure section 362 are frames);

      5. Ej Plaintiff is required to comply with a claims statute, and
         a.    EH has complied with applicable claims statutes, or
         b.    EH is excused from complying because (specif)'):

      6. EH This action is subject to             |~1 Civil Code section 1812.10            EH Civil Code section 2984.4.
      7. This court is the proper court because

         a.Qa defendants) entered into the contract here.
         b. EH a defendant(s) lived here when the contract was entered into.
         c. ^ a defendant s) lives here now.
         d. EH the contract was to be performed here.
         e. EH 3 defendant(s) Is a corporation or unincorporated association and Its principal place of business is here.
         f. EH           property that is the subject of this action is located here.
         g. EH other (specify):
      8. The fallowing causes of action are attached and the statements above apply to each (each complaint must have one or more
  causes of action attached):

         [3 Breach of Contract
         ' I Common Counts

         ]X] Other (specify): Refer to Other allegations in number 9.

  9.     ^ Other allegations: Before commencement of this action, in those cases where recover)-" of costs is dependent on such
               notices, Plaintiff informed the defendant(s) in writing it intended to file this action and that this action could result
               in a judgment against defendants) that would include court costs and necessary' disbursements allowed by CCP
               Section 1033(b)(2).
  1 0. Plaintiff pray a for judgment for costs of suit: for such relief as Is fair, just, and equitable: and for

         a. £3 damages of: $45,596.60
          b. £<] interest on the damages
                   (1) [3 according to proof
                   (2) EH        at *he '^a of (specify):                   percent per year from (date):

         c. EH attorney's fees
                   (1)          of:
                   (2) EH according to proof.
         d.        other (specify): For such other relief as the Court deems just and fair.

  11 . EH Tho paragraphs of this pleading alleged on information and belief are as follows (specify paragraph numbers):
  Date: September 06, 201 9
  [ J ll.YYMOVDA. I'ATi.XAl.'IH          [   J MINT I AM. D. K.AC IN

  I   < STEPKANJEJ BOONE                 [ 1 TODD C. SIMONSON
  [ ; ADAM MICHAEL JUVtRA                [ ) ANG1L HONG HOAR


                                                                                                                             ISI
                              (TYPE OR PRINT NAME)                                                            (SIGNATURE OF PLAINTIFF OR ATTORNEY)

                                                     (If you wist) to verify this pleading, affix a verification.)
  PLD-C-00: [Rev. January! 2007)                                       COMPLAINT—Contract

CA 0313 El-Tlc Complaint Contract                                                                                               f&y File No. 19-51)549
       Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 9 of 26 Page ID #:308


                                                                                                                                    PLD-C-001(1)


  SHORT TITLE: NATIONAL COLLEGIATE STUDENT LOAN TRUST 2007-1 . A DELAWARE STATUTORY TRUST(S) VS.        CASE NUMBER:

  ALEKSIA MHEPNER,




     FIRST
                          (njnbcjf                  CAUSE OF ACTION—Breach of Contract

    ATTACHMENT TO (^Complaint                        Cross-Complaint

     (Use a separate cause of action form for each cause of action, j

     BC-1.      Plaintiff (name): NATION AT. COLLEGIATE STUDENT LOAN TRUST 2007-1, A DELAWARE
     STATUTORY TRUST(S)


                alleges that on or about (date): January 24, 2007
                a          written Q oral       03 other (specify):
                agreement was made between (name parties to agreement): Plaintiffs assignor, BANK OF AMERICA, N. A.
                and ALEKSIA M HEFNER.

                       A copy of the agreement is attached as Exhibit A, or
                       The essential terms of the agreement      00 are stated in Attachment BC-1   ^ are as follows (specify):

                Defendants) entered into a written contract with Plaintiffs assignor, BANK OF AMERICA. N.A.,
                whereby Plaintiffs assignor loaned money to Defendant(s) for the financing of Education expenses.
                Plaintiff is the assignee of this contract. The terms and conditions under which Defend ant(s) agreed
                to repay Plaintiffs assignor for the monies loaned are set forth in a written contract and tor loan
                agreement between the Defend ant(s) and Plaintiffs assignor. Defendants) indicated his/hcr/thcir
                consent to be bound by these terms either by an authoiizing signature on the agreement or by
                Dcfcndani(s) taking possession of and using the monies provided by Plaintiffs assignor.

      BC-2. On or about (date): October 25. 20 1 6
                Defendant breached the agreement by          00 the acts specified in Attachment BC-2       the following acts

                (specify):        Defendants) failed to make payments on the contract as agreed, or otherwise defaulted
                                  upon the contract, and despite Plaintiffs demand Dcfcndant(s) continues to refuse to pay
                                  Plaintiff the amount owed under the contract. Defendant(s) is/are in default and under the
                                  terms of ihe contract, Plaintiff is eniitled to (he unpaid balance, interest, and costs.
      BOS. Plaintiff has performed all obligations to Defendants } except those obligations Plaintiff was prevented or excused from
                performing.

      BC-4. Plaintiff suffered damages legally (proximately) caused by Defendant's breach of the agreement
               00 as stated in Attachment BC-4               As follows :
                1 .   The principal sum of $45,596.60:
                2.    Costs of suit;
                3.    For such other and further relief as the Court deems just and fair.

     BC-5. 00 _PIaintiff is entitled to attorney fees by an agreement or a statue
                          of$
                      0   according to proof:


     BC-6.            Other:
                                                                                                              Page          3
                                                                                                                          Pwirrr




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      .i.iij»ai Cwncil <jf C*i farniii
 Pi l>C401fl) [ReM. .Aarniiiy 1. ?C0?)
                                                     CAUSE OF ACTION— Breach of Contract                          cms or civil Ficoaiu'es, $ •lit 1 2




OA J SB KHlc Breach ofOnntract                                                                                1'ite No. l'J-50S4y
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 10 of 26 Page ID #:309




                        EXHIBIT "A"


                                                               Pfi? No.: 19 50549
                       Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 11 of 26 Page ID #:310




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                                                            NOTE DISCLOSURE STA TEMENT
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           principal and interest payments uiu deferred will increase
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           Annual Percentage Rale which occurs after you have begun to make
                                                                            principal and interest payments on your loan will increase the
           amount of your future prirtcifol and insereu payments beginning with your
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           assume you obtain a loan in your junior year, in she amount of 510.000. «
                                                                                     in interest   of 1 1*, sad" _yoo defer principal tad"
           interest payments until after your graduation, and the repayment teem
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           on January 1st of your senior year, the interest which accrues while principal
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          S9I.0I , nnil your monthly principal and interest payments would increase
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          LATE CHARGES: If u payment is more than 15 days late, you may be charged
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          you default, lender (or any subsequent holder of your Loan Note) moy
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     Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 14 of 26 Page ID #:313



   n this C'sdit Agreement, the words 'I'/me'/m/', and 'mine" mean the                     payments will begin 30-60 days after the disbursement of my loan, the
  p^tson(s) who sign eo this Credit Agreement as Borrows; and Cosigner. The                "Deferment End Date" Will be Ihe date the stuaent Borrower first graduates or
 weeds 'you', 'your", 'ycus'. and 'Lender' mean Bank of America, National                  cesses to be enroled at least haf-tr e in the School (or another school
 Association, its successors and assigns, and any other holder of Ihii Credit              participating in this loan program), andprincipa:and interest paymonte v/;ll
 Agreement. 'School' means the schoo' .named at the lop of the firsl page of               begin 30-60 days after that date. In any event, if I have elected Ihe 'Interest
 this Credit Agreement. The 'servicer" means the Lender or any entilv it                   Only" repayment option, the Deferment End Date will be r.a mere than 5
 designates to service my loan.                                                            years after the Disbursement Date, .f I have elected the "Fu'l Deferral'
 A. PROMISE TO PAY: I promise to pay to you the Lean Amount                                repayment option (Die applicable repayment option is slated cn the first page
 Requosted shewn on the first page of this Credl Agreemen*. to ine extent it              or Ibis Credit Agreement), the.- the 'Deferment Eno Date" w II be 180 days
 is advanced tc me o» pad on my behalf, anc any Loan Or'gteafeon Fee                      after the date the student Borrower Irs I graduates or ceases to be srrolled at
 added to my tan (see Paragraph P, (together, toe ' Pinepal Su-m'). interest              least half-time in the School (or another school padiopatmy in 'his Lean
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 Sum and 'ate fees (see Paragraph E.6J.                                                   tho Determent End Date wi be no more than bVi years after toe
 B. IMPORTANT - READ THIS CAREFULLY:                                                      Disbursement Date. For Lor-cwers who chose the 'ir teres t C-riy' c "Full
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 with interest and all other amounts I owe (see Paragraph A). You havo toe                the Disbursement Date; previded, however, that if the student Borrower
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 make any loan check co-payable to rne and the Cosigner or to me and the                  th.e Deferment Period will end 180 days after the day the residency or
 CchOCl.                                                                                  inrernshra er ds. bu» no more than 3!4 years after the Oabursenert Dace.
 2 HOY/ 1 AGREE TO THE TERMS OF THfS LOAN, fly syring this Credf                          4. The "Repayment Pericd' beg.re &ie day after the Deferme*/ Perbd ends.
 Agree rent, and Sutmihng i to Sie Larder, I am requesting that you make                  If tiers is ad Determent Period far my loan, tie Reoayc-enl PeriuJ wi begin
 this loan to re r an amount equa' to the Loan Amount Requested phis any                  when my loar. is luly disbursed The Repayment Period Is 2C years unless
Loar. Origination Fee described in Paragraph F of this C'edit Agreement, f                monthly payments equal to 1he min mum monthly payment amount (See
you approve this request and agree to make this loan, you wll notify me in                Paragraph E.7) will repay ell amounts owed in less than 20 yea'S. i.n wheh
writing and provide me with a Disclosure S'atement. as required by lav/, at               case the Repayment Pericd will be the number nf rrcrths necessary tc pay
the l ine the loan proceeds ere disbursed. The Disclosure Statement is                    in full Ihe amount I owe at the minimum payment.
1.-.ccrpo'aied herein by reference and made a part hereo' Toe D.sdosure                   D. INTEREST:
Staternenl will tell me the amount of the loan that yc-u have approved. the              ( . Accrual - Beginning on the Disbursement Dale, .meres: will be calculated
amount of the Lean Origination Feo. a."d other important information. ' wil              at the Variable Rate (Paragraph D.2) and cha-ged on the Principal Sum, and
lei you know that I ag-es tc the terms of the loan as sel forth, in this Credit          on any unpaid interest ater added to the Principal Sum acceding to
Agreement ard in the Disclcsure Statement oy doing either cf the following:              Paragraph D.3. During the Repayment Period, interest will becaluu'ated at
fa) endorsing or cepositing the check that d abuses tne loan proceeds; or (b)            trie Yanatre Rate and charged on the outstanding balance of tills Credit
allowing the loan proceeds to be used by c on behalf o: the student                      Agreement unll al. amour* are paid in ful. Interest wfl be calculated on a
Borrower with out objection. Upon recent of the Disclosure Statement. I Ml               dafly ample uterest basis 'he daily Interest rate Wll be equal k) tee annual
review the ttsoosme Statement and notify you in wrif ng if I have any                    interest rato in elect on thai day. divided by tec numoer of cays n thai
questions If I am not satisfied with the lerms of my loan as disclosed in the            calenda1 yea-.
Disclosure Statemen', I may cared my loan. To cancel my loan, I w'll give                2. Variable Rate - Tne 'Variable -Rate" is equal to the Current Index plus a
you a written cancellation notice v/rthir -,en (1 0) days after • receive Ihs            Marg:n. The Margins for both tho Deferment Period and tee Repayment
Disclosure Statement. If loan proceeds have been disbursed I agree lhat I                Period are showr on tho first page of th's C'edit Agreement. In no event will
will immediately return the loan proceeds to you. ml not endorse any cneck               trie Variable Rale exceed the maximum interest rate allowed by Ihs laws of
that disburses the loan proceeds a.od will nsimct the School to reiurn any               tee State of California. The Variable Pate will change montoly on the firs', day
loan proceeOS to yotl If I give notbe of cancellation hut oo riot comply with            of each calendar month ('he 'Change Date(sf) if the Current Index changes.
the requirements of this Paragraph B.2. this Credit Agreement will not be                Trie 'C.inw. Index" for any calendar monlh (cr 'or any shorter perdd
canceled and I WH be in default of this Credit Ag moment (See Paragraph .)               beginning on the C'Sbufser.enl Date and ending on the last day of a
C. DEFINITIONS:                                                                          calends' month) is based on the one-month Lor don Interbank Offered .Rare
1 '0i3hu'sement Date' means the dale or dates on wnich you tend money                    (' LIBOR") as published to the 'Money Rates' sectior of The kVew S.Vset
lo me ir consideration for my Creoit Agreement and will be toe da'e;s)                   journal (Eastern Edit-on). Trie ir-dex to' eax. calenda.' month (or for any
shewn on 3ny raan check you prepare or the date's) you .nitrate any                      shorter period begtojiing on a Disbursement Date and ondrg on the last day
eted/Onic f jnds t'arufer                                                                of a calendar mcrkh) wi equal the LIBOR rate published on tee f rst
2. The "Ds'erment Period' will begin on the 0 sbursemen' Date and end on                 business day of the immod a'.ely preceding calendar mcnth, 'ou-.daa lo the
the Defeiment End Date.                                                                  nearest cne-hundredlh of one peioenl (0.01 %}. If The Wall S?re9( Jamal
3. "Deferment End Date" means the date specified be'ow for the applicable                (Eastern Edition) is not publishad c the Cu'rent Index, ,'s .not given on that
loan program (the aoplicab e lean program is stated on the first page of this            date, ther the Current Index will be determined by using the immediately
Credit Agreement).                                                                       preceding pvWished Current Indax. IftheCurreri! Index is no longer
(a) Vntowriwto Alternative Loan Program: If I have elected the                           availaDle, yc-J will choase a comparable index.
'Immediate Repayment' option (the applicable repayment option is slated on               3. Capitalization -II I have elected the 'Full Deferral' repayment option (the
tne first page of this Credit Agreement), there is no Deferment Poricd. and              appl cable rnpayrneH oplion is slated on the first page of this Credit
ivy fi'st payment will be 30-60 days after the disbursement of my loan. If I             Agreemert), i am not obligated tc make any payments until the loar enters
have elected the 'Interest On''/" repayment oplion (he applicable repayment              Hie Repayment Poricd ard you wll add unpaid accrued interest to the
option is stated cn the first page of th's Cradt Agreemenl). then interest               prir cipal lean balance as of the last day cf each calendar quarter (the last

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 cay cf December. March. June and September; during the Deferment Period                   fees. In such cases you will increase the amount of my last monthly payment
 and as of the last day o' my Determent Psood. Interest that is added fo                   to Ihe amount necessary lo repay my lean in fill.
 principal is called 'Capitalized' interest Capital, zed in;eres1 will bet'eated as        5. Payments - Payments will be aoplied first to late fees, other fees and
 principal. In addition, if I arn in de'ault (see Paragraph I) and the loan has            charges, accrueo interest, and the remainde' to pr ncipa'.
 been sold loTERl (see Paragraph L.I 2), TERI may caoite'ize axvued and                    6. Other Charges - ,'f any par! c1 a monthly payment remains unpaio tar a.
 unpaid interest as of the dale it purchases Ply ,Oan. I understand that you will          period of more than "5 a ays after the payment due date, I will pay a late fee
 also ado all ax-ued ar.d unpaid interest Id the principal balance of my loan              not exceeding 55.00 or 5% of the overdue payment amount, whichever is
 at the end of a*y forbearance psr'od (see Paragraph i-l).                                 less. Tc the extent perm'tfed by law, I agree to pay you all amounts you
 E. TERMS OF REPAYMENT:                                                                    incur in enforcing the terms of this Credit Agr&emeril, inc udi-g reasonable
 1. Deferment Period - ;f I h3vo elected either the "Interest Only' repayment              collection agency and attorney's fees end court costs and ether collection
 option or the" Full Deferral' ropayrent option (tie applicat'e reoaymenl                  costs.
 option is staled cn the first page af th's Credit Agree,'vent), you will send             F. LOAN ORIGINATION FEE: If you charge me. I will pay you a Loan
 statements during tie Deferment Period (showing the total outstanding                     Origination Feo at fha time my loan is disbursed. The dollar amount o' any
 principal balance of rny loar and the interest 111 at has accrued on my loan),            Lean Origination Fee wil.' bo determined by ruit plying Ihe Principal Sum
 You reserve the right lo seed statements or notices tc e.tne; L*e Borrower or             times the Loan Origination Fee Percentage shown on the firsl page of this
 the Cosigner. Statements wi'l be sent lo the address snewn cn your records.               Credit Agreement. The percentage would be higher if computed only on the
 It I have elected the "Interesi Only* repayment option, I agree to make                   amount advanced rathe than on ihe entire Principal Sum (Loan Original on
 payments eacn rnoitn during the Defer- ent Period equal tc the accrued                    Fee plus tne loan amo.nl advanced) For example, a nominal Loar
intfi'est cn the outstanding balance of this Credit Agroement. If ! have                   Origination Fee of 6.5% on the entire principal amount would equal 6.9519%
alrcteo the "ru'l Deferral' repayment option I may but am not rerjuireo to                of Lie amount advanced. The Loan Origination Fee I will pay, f any. will be
make payments during Ihe Deferment Period. You will add any interest that I               shown on my Disclose 'e Statsmcnl and ir eluded with the Principal Sum. To
do not pay during |he Deferment Period to the principal ba'ance, 35                       ihe extent permitted by - aw. ar.d unless I fme'y cancel this Credit Agreement
described ir Pa'agraph D 3.                                                               (see Pa'agraph B.2). I will nol te entitled toa/efono of any Loan Origination
2. Repayment Period - The a man! of my monthly payment ('Monthly                          Foe after rny loan has been d'sbursed.
Faymenl Amount') wil" be established based on l-ie rules in th.s Cred-'t                  G. RJGHT TO PREPAY : have the right io prepay all or any pad of my loan
Ag reement wh en m y Repayment Period beg lis. Du ring Lie Reoa/r snt                     at any lime without penalty.
Period, you will send me rncnth.y statements that show Ihe Monthly Payrnenl               H. FORBEARANCE: If I am unable lo repay my loan in accordance with
Amount and the payment d-e dales, and I will pay the Mcr.thly Payment                     the forms established under this Credit Agreement because of a hardship
Amount shown on oiy monthly statement, which amounl will in no event be                   such 3s financial or medical difficulty, I may request teat you modify these
less tnan S25 or Ifie unpaid balance, whichever is less. I understand tna; the            terms. I understand that such modification would be a: youf Optica and. to
Monthly Payment Amour I is due each month. I may pay more than rny                        ihe extent not prohibited by applicable iaw, you may charge ne a fee equal
Monthly Payment Amount at any time wilhout penalty or charge. If my loan                  to two pe'csnt 2% of the outstanding principal balance if you agree to moo fy
is in pa.d-ahnad states, I may, but vrill not be required to make monthly                 the lero'a of this Cred.1 Agreement I understand tnat I will remain
payments. You reserve the right tc send monlhly Statements to the Bo-rcwer                responsible for all interest accruing dur.ng any por'otf of forbearance and thai
andfor the Cosigner. Evar. if I do not receive month' y statements. I will make           you wil add any 2% tee described in ihe previous sentence and all interest
consecutive monthly paymcnls in amounts at least equal to the sVonlhly                    that 1 do not pay during any forbearance period to the prircipa! balance, as
Payment Amount by the app:icablo payment due dates uriti I have paid all of               described in Paragraph D.3.
the principal and inte'est and any other charges I may owe under Ihis C'edit              I. WHOLE LOAN DUE: To the extenl permitted by applicable law. I will do
Agreement                                                                                 in default and you have the right to give re notice that tee wlic'e outstanding
3. Repayment Terms - Vy Monthly Pay-nert Amount will be calculated as of                  on ncipa. balance, accrued interesi, and al1 other amounts payable to you
the day the Repayment Period begins ('Repayment Date'). It wil' oe                        under the terms of this Credit Agreement are due and payable at once
recalculated (a) once each year prior to the anniversary of the Repayment                 (subject to a.ny applicable law which may give me a right to cure rny deteu't)
Date, (b) if the Variaole Rate changes between anniversaries of too                       if. (1)1 fail 10 make any monthly payment to you when d je, (2) I die, (3) !
Repayment Date to tie extent that the Month y Payment Amount would not                    break any of my other promises in ihis Credit Agreement, (4) any bankruptcy
pay in full the accrual monthly interest on my loan, (c) fcUow'ng any                     proceeding is begur. by or against me. cr 1 assign any of my assets tor the
subsequenl detefrcint or forbearance period or (d) fo'low ng any request by               benefit of my creditors, or (5) I make any false written statement in applying
the Borrower to the servicer to change the monthly payment due date (each                 tar this loan or any other loan or at any lime during the Deferment or
of which events is a new "Repayment Date'). As cf any Repayment Date my                   Repayment Periods If I default, I Mil be required lo pay interest on this loan
Monthly Payment Amount will be recalculated. My new Month "y Payment                      accruing after default. The interest rate after default will be subject to
Amount will be disci wed to me by Lne servicer. The new Monthly Payment                   adjuslmeni in the same manner as before default Upon default, you may
Amount will equal Lie amount necessary to pay in full, ove* the number of                 also capitalize any infe-ast and fees (i.e., add accrued and unpaid interesi
months remaining in ihe Repayment Period, the amount I owe in equal                       and tees lo the principal balance), anc increase tee Margin used to compute
monlhly installments of pn'ncipa and interest at the Variable Rate in effect at           Hie Var.'ab'e Rate by two percentage pc-.nts (2%)
the time of the calculation I understand ihat this may result in a reduction or           J. NOTICES:
increase in rny monhly payment as calculated as of each Repayment Date.                   1 . I will send 'written notice to you. a.ny subsequent holder of th;S Credit
I understand that during the Repayment Period (and. i' I have elected the                 Agreement, and tee service' within ten days after any change in my name,
'Interest Only" repayment cption, during ihe period of interest payments) rhe             add'ess, cr enrollment status (for example, r the Boucwar withdraws from
servicer may change the monthly payment due date of future payments lo a                  the Schoo. or transfers to another school participating ir. ihis loan program).
later date tor the convenience of the servicer in processing payments or in               2. Any notice required lo be given to me by you will bo effective when mailed
order io coordinate ihe due dates o< ah of my leans processed by the                      by firsl class mail to the latest address you have for me. Unless required by
servicer.                                                                                 applicable law, you need not give a separate notoe to the Cosioner. it ar\y.
4. Amounts Owing at the End of the Repayment Dericd - Since interest                      K. INFORMATION:
accrues o'aily upon lne unpaid principal balance of my loan, if I make                    1.   must update the information     provided fo you whenever you ask me to
payments after ry payment due dates.. I may owe additional interest. If I                 do so.
have not paid n'y lata fees, . will also ewe add tor al amounts for those lata



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    2. 1 3-Jthorize you 'corn lime to litre tc requesl aid receve from othere credit      Ihe borrower before calling upon ne to lliaxe repayrrsnt. For pjrpcsos cf
    related :nfo.'rnation atoul me (and afcoui my spouse i< i live in a community         Ibis paragraph oniy, ' I" &nd "re" refer to the Cosigner only.
    property slate).                                                                      1 0 Al," del lar amounts statec' i i t-,is Credit Agreement are in Uri itec States
    3. CREDIT BUREAU REPORTING                                                            ooliars. I wil' make a-'l payments i.n United Slates Dollars with no deduction
     You may report information about my account to credit bureaus. Late                  for arrency exchange.
     payments, missed payments, or other defaults in my account may be                    11. 1 1 the student Borrower fails to complete the educat'on program paid for
     reflected in my credit report.                                                       with this loan, the Cosigner and I are nc: re'ievcd of any obligation within or
                                                                                          pursuant to this Credit Agreement
    I unoerstano that the reporting of /nfematon aboul my account to credit               1?. f understand and agree that this loan is an education loan and
 bureaus may adxrorsely affect my credit rating and my ability to obtair other            certify that It will be used onfy for costs of attendance at the School. I
 cred- 1 You may al30 report the status cr my loan and T.y payment h 'story,              acknowledge that the requested loan is subject to the limitations on
 including information about 3 late payment, miss so payment or other defaults            dischargeability In bankruptcy contained in Section 523 la) (8) of the
 in accordance w h applicable law.                                                        United States Bankruptcy Code because either or both of the following
 L. ADDITIONAL AGREEMENTS:                                                                apply: (a) this loan ivas made pursuant to a program funded in whole or

 1. 1 understand that you are located in California and that this Credit                  in part by The Education Resources Institute, Inc. ("TERI"), a non-proHt
Ag-eement wil.- be entered into in the same state. CONSEQUENTLY, THE                      institution, or (b) this Is a qualified education loan as defined in the
 PROVISIONS OF ThIS CREDiT AGREEMENT WILL BE GOVERNED BY                                  Internal Revenue Code. This means that if, in the event of bankruptcy,
FEDERAL LAW AND THE LAWS OF THE STATE Or CALIFORNIA.                                      my other debts arg discharged, I will probably still have to pay this loan
WITHOUT REGARD TO CONFLICT OF LAW RULES.                                                 in full.
2. Tha proceeds of this loan will be used on'y fc my educational expenses at              "3. I aurhorize any schoci ihat ' may attend (0 release to ycj, and any othor
theSchoo'. TheCosigne', if any wil' not receive any of fa tear proceeds.                 persons designated by you, anyreqvesred nforrralori pariinenl toth.s loan
3     My responsibility for paying the loan evidenced Dy this Credit Agreement           (e.g., enrollment status, pricr loan hi$".07. ano" current address).
is unaffected by the liability of any other person to me or by your failure fo            M. ! authorize the Lender, any suosequonf holdar of this Credit Agieercert,
notify me that a required payment .nas not teen made. Without losing any of              and their agents (including TERI) to: (1) advise the School of Ihe status of n y
your rights under tr.is Cred't Agroernent ycu may accept (a) late payments,              application ard my loan. (2) respond to inquiries from prior or subsequent
•!b) partial payments cr (c) payments marked "paid in r'uT o- win other                  lenders cr ,hoide's with respect to ny Croat Agreement and rslatea
restrictions. You may delay, fail to exorcise, or waive any cf you- 'ights on            documents, (3) release informaticr and make incuiries to toe persons I have
any occasion witfiout losing yc jr entitlement to exeroise Ihe right at any              given yat; as references, for he purposes of learning my current address and
future time, or on any future occasion. You will not be obligated to make any            telephone number (4) check ir y credit and employment hislo-y and to
demand jpon re seed me any notroe. present this Credit Agreement to me                   answer questions about their credit experience with me. and iS) discose to
for payment or make orotest of non-payment to rne before suing to collect on             the Borrower andi'c he Cosigner either in connection with this transaction or
t-is Credit Agreement if I am in default, arid to tne extent permitted by                any future transaction all irformatdn (including status hfomiation ard nor-
applicable law, I hereby waive any right I might otherwise have to require               p-Jblic oe-sonal info'matior.) of the Borrower andto' Ihe Cosigner provided in
such actons. I WILL NOT SEND YOU PAYMENTS MARKED 'PAD IN                                 conneci'on v/'th this C'edit Agreement.
FULL", "W.THOUT RECOURSE' OR WITH OTHER SIMILAR LANGUAGE                                 16. Waive' by Lender: Ycu waive (give up) any right to clan a security
UNLESS 'HOSE PAYMENTS ARE MARKED FOR SPECIAL HANDLING                                    interest in any property to secure linis Credit Agreement. Th's ooes not affect
AND SENT TO THE ADDRESS "DENTIFIED ,-OR SUCH PAYMENTS ON                                 any rght to otteet as a matter cr law.
MY B'LLING STATEMENT, OR TO SUCH CTKER ADDRESS AS I MAY BE                               16. If < fax rr.y s gnali.re(s) on the first page of this Cred t Agreoment back to
GIVEN IN THE FUTURE.                                                                     you and keep the copy I signeo, I understand trial under federa law the fax
*     I may not assign Lnis Creuit Agroernent cr any of its benefits or                  you receive w«ll be an original of the first page of th's Credit Agreement. You
obligations. You may assign Ihis Credit Agreement at any time.                           and I agres that all copies of this Credit Ag'eement (including the fax you
5. The terms ana' conditions set forth iri this Credit Agreemonl and the                 reesive and the copy I retain), taken tcgether, shall oonslitule a single
Disclosure Statement constitute the entire agroernent between you and me.                crgina' agreement.
3. If any provision of this Credit Agreement is helc .nvalid or unenforceable,           17. If any Borrower or Cosigner elects lo sicn electronically an electronic
that provision shall be considered omitted from this Credit Agreement without            record of this Credit Agreement her, the fallowing wil.1 apply as between
affect ng the validity or ciforooabi.'ity of tee remainder of If Is Credit               Lender and s jch person: (a) Lender will keep a non-modifiahe electronic
.Agreement.                                                                              record of ths document and prcv'de a copy to me upon request, fb) I can
7. A provision c' this Credit Agreement may on'y be modified if jointly agreed           and havo downteadod aridter p'inted a copy of tr.is document 'or my records
upon in wiling by ycu and me. Ar.y medtfeation w'll not affect the validity or           or notified the Lender to mail me a copy cf this oocument, and (c) the

enforceabil-ly of '.he remainder of this Cred.t Agreement.                               uender's e ectronic record of this document ana any printout from that record
8. To the extent permitted by law. you have tne r'ght to apply mcney from                shall be an orgir.a1 for all purposes, including any Izv.suit to collect amcjnts
any of my deposit account(s) with you te pay al" or a portion of any amount              that I ewe. If I physically sign a copy of this document that h3s been
cverd-je under this Credit Agreement. I heresy authorize you to ootain from              electronically signed by any other Cosigner or Borrower as between me and
tea School all anoun's which may be owed :c rne by the School, including                 the Lender the copy I sign (and any fax of Ihat copy I may sEnd to Lender)
any refund due to overpayment, early termination of enrollment, or otherwise.            will be an original. However, the electronic signature cf another parly to this
9. If Ihis Credit Agreement «s executed by more than one Borrower, each                  Credit Agreement and the Lenders electronic reco'd of Ihis dccumeril
Borrower agrees that ar.y commuricatfon oelween you and any of the                       containing Ihat signature w.ll be as vatic' against rne as an original, physical
Borrowers will be binding on all of the Borrowers. I intend to be treated as a           document that is physically signed by all parties.
orincipal o1 this Credit Agreement and not as a s jrely. To the extent I may             M. DISCLOSURE NOTICES
ds treated as a surety. I waive all notices to which I might otherwise te                ALL APPLICANTS:
entitled as such by law, and ail suretyship defenses that might te available 1o          IMPORTANT FEDERAL LAW NOTICE—
rne (including, withojt linvtation, contribution, subrogation ana exoneration).
I agree that the Borrower may agree to any 'o'tearonco cr other rooificalion             Important information about procedures for opening a new
of the repayment schedule ard that such agreement will fco binding on me. It             account:
shall not be necessary tor ycj to resort to or exhaust your remedies against



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 To help the government fight the funding of terrorism and                               NEW YORK. RHODE ISLAND ANP VERMONT RESIDENTS A consumer
 monay laundering activities. Federal law requires all                                   report {credit report) may be obtained rrom a oorsumer-reporiing agency
 financial institutions to obtain, verify, and record                                    (credit bureau} in connection with this loan. If I -e-quest (1)1 will te infermeo
 Information that identifies each person who opons an                                    whotoe: or not consumer teocts were obtained, and 12/ if reports were
 account.                                                                                obtained. I will be informed o' Ihe name? and addresses cf the credl
                                                                                         bureaus that furnished the reports. If you agrac to ir.ake this ,'oan to me. a
 bV/wt this means for you:                                                               consumer credit report may be requested or used in connection wilh
 When you opan an account, we v/lll ask for your nania,                                  renewals or extensions of any credit for which 1 have applied, reviewing my
 address, date of birth, and other information that wrll allow                           ban. taxing co lection action on niy loan, ce legitimate purposes associated
 us to identify you. We may also ask to see your driver's                                with my loan.
 license or other identifying documents.                                                 OHIO RESIDENTS: The Ohic laws agairisl discrimination require that all
                                                                                         creditors make credit equally available to all credit worthy customers. ard
 CALICQRM A RESIDENTS. I have toe righi ta prohibit the we cf informatior
                                                                                         that credit reportirg agendo* maintain separate credit histcr.es en each
 contained in my credit file in connection with transaxials not initiated by me.
                                                                                         ird'v'djaf upon request The Oho Civil Rights Commissio- administers
 I may exercise t'is rig to by nyi'ying the consumer crfldi: reporting agency. A
                                                                                         compbarce with th.s "aw.
 married app icanl may aoply for a separate account. If ycu take any adverse
                                                                                         vYSCONSNREStDENfS Fo* maried Wisconsin residents, mysgnaturc
 action as deffled by SecSon 17S5.3 of fre CaSfornia Civil Coda aid 'he
                                                                                         on this Credi* Agreemer t confirms that ttvs loan ob&gatiwi is bang incurred
 adverse acticn is based, in whole or in pad cn any in'ormaticr contained to
                                                                                         in the interest of my mamage orfarvly. No provision of any mariia. property
 a consumer credit report, I have (he right to obtain within SO days a free copy
                                                                                         agreement (pre-marital agreement), unilateral statement under Section
 Of my consumer credit repel from the consume- reporting agency who
                                                                                         765.59 or court decree u'-der Sect'on 765.70 adversely afecls the interest of
 furnished you r y consumer credit repo'l and from any other consumer credit
                                                                                         the Lender -nless the Lender, prior tc the time thai the .dan is approved, is
 reporting agsrey which compiles and main:&'ns files on consumers on a
                                                                                         furnished with a copy ot the agreement, statement or decree or has act. a.
 nationwide basis I have the right as oescrioed by Section 1 785.16 cf the
                                                                                         knowledge of the adve'fie provision when the obligaton to '.he Lender is
 California O'v'l Cede Id dispute :ha accuracy c completeness cf any
                                                                                         incurred, if the loan for which I am applying is granted, my spouse wiil also
 'nformaton in a consumer credit repct furnished by Hie consumer credil
                                                                                         receive nolitication '.hat credit has been exterded tc me.
reporting agency.
                                                                                         N. BORROWER S CERTIFICATION: I declare undo' pena-ty of perjuy
£A! IFQRN'A AND UTAH RESIDENTS: As required by California and Utah
                                                                                         under the laws of ths United States ot America final the following is true and
law, I am hereby nolifiec1 that a r eg alive credl report reflecting on my credil
                                                                                        correct. I certify that all information ' provided to you in connection witn this
record may be submitted tc a credit reporting agency if I fail tofulti I toe terms
                                                                                        loan, includ ng wilncut limitation, the information contained in this Credit
q' my crcdi: obligalions
                                                                                        Agreement, is t'ue, oomplete and correct to the best of my knowledge and
IOWA, KANSAS AND NEBRASKA RESIDENTS (For purposes of the
                                                                                        belief end is made in gocd faith. I understand that I am responsible for
following nolica, the word "you" refers to the Borrower and the
                                                                                        repaying immediately any funds thai I recava which are not tc be used o' are
 Cosigner, not the Lender): NOTICE TO CONSUMER. This is a
                                                                                        not used for educators eipenses related to atter dance at the Schco. fur the
consumer credit transaction. 1. DO NOT SIGN THIS CREDIT
                                                                                        academic r««"xl stated I ctrkljr tnal I am not no* in de*ajlt on a Federal
AGREEMENT BEFORE YOU READ THIS CREDIT AGREEMENT. 2. YOU
                                                                                         Perkirs Lean a Federal Staflord Loan, a Federal-y ins ured Student Loan, a
ARE ENTITLEO TO A COPY OF THIS CREDIT AGREEMENT. 3. YOU
                                                                                         Federal Supplemental .can lor student Borrowers (SLR), a -ederal PLUS
MAY PREPAY THE UNPAID BALANCE AT ANY TIME WITHOUT
                                                                                         Loan, an Income Contingent Loan, a Federal Conscfidaton Loan, a Fedora,
PENALTY AND MAY BE ENTITLED TO A REFUND OF UNEARNED
                                                                                         -ortf Direct Loan, or any other ecucation loan received for attendance at any
CHARGES IN ACCORDANCE WITH LAW.
                                                                                        school.
MARYLAND RESIDENTS: In Paragraph L.I . Lender and I have agreed that
                                                                                        0. STATE-SPECIFIC COSIGNER NOTICES: For Ir e purposes of Ihe
 this Credit Agreement is governed by federal law and the laws of
                                                                                        following notices only, the words 'you" and "your' refer to the Cosigne-,
 CALIFORNIA, without regard to conflict o' laws rules; if any court should
                                                                                        where applicable, not lo the ,'ende.'.
r.eveffhelfcss determine that this Credit Agreement is subject lo Maryland
                                                                                        FOR OBLIGORS COSICNING IN IOWA, NEW YORK AND SOUTH
laws ooroerning credil. then only to the extent that Maryland law applies.
                                                                                        CAROLINA:
Lender and I agree and elect that ihis oan is made under and governed by
                                                                                        iVOTi'CF You agree to pay the debt identified bolow altoagh you may hot
Subtitle 10, Credi'. Grantor Closed End Credit Provisions, of Tills 12 of the
                                                                                        perscnaily receive any property, gocds, services, cr money. Yet/ may be
Commercial Law Arlicle cf the Annotated Code :( Maryland excep' as                      Sued for payment although the person v.ho receives ihe proporty, goods,
preempted by federal lav/
                                                                                        services, or -roney is ahlo to pay. Yoc should know that the Total of
MISSOURI RESIDENTS: Oral agreement* or commitments to loan
                                                                                        Payments foteo belcw dcos rc! tfiojde finance charges resulting f-om
money, extend credit or to forbear from enforcing repaymant of a debt
                                                                                        deinqiiensy. late charges, repesssssion cr foreclosure casts, court ccs s cr
including promises to extend cr renew such debt are not enforceable.
                                                                                        attorney's fees, or oLner charges that may be stated in the Credit Agreement
To protect me (borrower^)) arid you (creditor) from misunderstanding
                                                                                        or contract. You wil also have lo pay some or 3;'l of these costs and charges
or disappointment, any agreements we reach covering such mattere
                                                                                        if the Credil Agreement or oanlract. the payment of which you are
are contained in this writing, which is the complete and exclusive
                                                                                        guaranteeing requires tr:e Borrower to pay such costs ana charges. This
statement of the agreement b&tv/een ue, except as we may later agree
                                                                                        notice is not the Credit Agreement or ccr.tract that obligates you to pay the
In writing to modify it
                                                                                        debt. Read th© Credit Agreement or contract for the exact terms ol ycur
NEVADA Rfchl PEL'S This is a toan for study.
                                                                                        oblgatian.
NEW JERSEY RESIDENTS: The section headings ot this Credil Agreement
are a table of contents and nai ccntraX terms. Portions of this Credit
                                                                                        IDENTIFICATION OF DEBT (S) YOU MAY HAVE TO °AY
Agreement with le'etences to actions token to the Bxlen! cf aoplicaole lav/
                                                                                        Name of Debtor: Tho Borrower and Coslgne' .dentifi&j an the first page of
apoly to acts or practices that New Jersey law oermi's or requires. In this
                                                                                        this Credit Agreement.
Credit Agreement acts or practces fi) by you which are or may tx> permitted
                                                                                        Nar.e of Creditor: 3aok of America, National Association, and iU successors
by "applicable law are permitted by New Jersey law and (ii) that may t>' will
                                                                                        and assigns.
be taken by you unless prohibited by ' applicable law" ate permitted by .New
                                                                                        Date: If the loan is disbursed by chock, the da'e of '.he check. If the -aan is
Je-sey law.
                                                                                        disbursed e ectremcaly. 1h? date toe creditcr iransmfe the tond« to Ihe
                                                                                        Schoa.

^ .. BK.U6-07.C SX1 . 1 ODC.0206                                                6of 7
    Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 18 of 26 Page ID #:317



 Kind erf Oete: Eo JcaHon lozn.
 Tcrfal erf Payment: The Loan Amourt Roq jested eel lort. on the f>sl page erf
 ihis Credit Ag moment <to the extent advanced), plus irterest arid be Loan
 C'ig 'natbr Fee set *cth in this Credit Agreement..
 FOR QBUQQRS COSIGNING IN VERMONT:


                           NOTICE TO COSIGNER


YOUR SIGNATURE ON THIS CREDIT AGREEMENT MEANS THAT YOU
ARE EQUALLY LIABLE FOR REPAYMENT OF THIS LOAN. IF THE
SORROWER DOES NOT PAY. THE LENDER HAS A LEGAL RIGHT TO
COLLECT FROM YOU.
FOR OBLIGORS COSIGNING IN WEST VIRGINIA


   NOTICE TO COSIGNER
   You are ocing asked to g jarantee this debt Think carefully befcre yoj do.
   If the Borrow* doesn't pay the debt, you w® have to. Se sure ycu car
   alord to pay it it you have to. and thai >cv want '.o accept Ih-s
   'esponsibility. Yoj may have to pay up to the full amount of ihe debt if tie
   Borrower decs not pay. You may also have tc pay late fees Of collection
   costs, which increase this amount. The creditor can collect this debt from
   you without first trying to co'lect from the Borrower. The ceditry can use
   Ihe same collection motheds againsf you lha; can be vised against ;ho
   Bor/ower, such as s.-ing you, garnishing you' wag as. etc. .1 Ihis debt is
   ever in default, lha! fact may become a part c' your credit record. Tnis
   notice is not 'he oontracl that makes you liable for the debt.




:««*«*• >,BK. 06 -07. CSX 1 . 1 0PC.0206                                        7 nf 7
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 19 of 26 Page ID #:318
 Exhibit 99.18




 EX-99 15 national -ex99 18 03 11 07.htm EXHIBIT 99. 18

          Confidential Materials Omitted and Filed Separately with the Securities and Exchange
                                              Commission.
                                      Asterisks Denote Omissions.



                                                                                             EXHIBIT 99.18


                                2007-1 POOL SUPPLEMENT (T>TC ONLY)
                                        BANK OF AMERICA, N.A.

          This Pool Supplement (the "Supplement*) is entered into pursuant to and forms a part of that
 certain Amended and Restated Note Purchase Agreement dated as of April t . 2006, as amended or
 supplemented from the date of execution of the Agreement through the dale of this Supplement
 (together, the "Agreement"), by and between The First Marblehead Corporation and Bank of America,
 N.A. (the 'Trouram Lender'). This Supplement is dated as of March 8, 2007. Capitalized terms used in
 this Supplement without definitions have the meanings set forth in the Agreement.

          Article I : Purchase and Sale

       In consideration of the Minimum Purchase Price set forth below, the Program Lender hereby
transfers, sells, sets over and assigns to The National Collegiate Funding LLC (the "Depositor"), upon
the terms and conditions set forth in the Agreement (which are incorporated herein by reference with the
same force and effect as if set forth in full herein), each student loan set forth on lite attached Schedule 1
(the "Transferred Bank of America Loans") along with all of the Program Lender's rights tinder the
Guaranty Agreement, and any agreement pursuant to which TERI granted collateral for its obligations
under the Guaranty Agreement, relating to the Transferred Bank of America Loans, The Depositor in
turn will sell the Transferred Bank of America Loans to The National Collegiate Student Loan Trust
2007-1 (the 'Trust'1). The Program Lender hereby transfers and delivers to the Depositor each Note
evidencing such Transferred Bank of America Loan and all Origination Records relating thereto,
together with any additional information relating to the Transferred Bank of America Loans heretofore
provided by TERI (as origination agent) to the Servicer or FMC in connection with the subject
Securitization Transaction. The Depositor hereby purchases said Notes on said terms and conditions.


          Article 2: Price.

      The amounts paid pursuant to this Supplement are the amounts set forth on Schedule 2 attached
hereto.


          Article 3: Representations and Warranties.

          3.0 1 . Bv Program Lender.


     The Program Lender repeats tire representations and warranties contained in Section 5.02 of the
Agreement for the benefit of each of the Depositor and the Trust and confirms the same are true and
correct as of the date hereof with respect to the Agreement and to this Supplement.


      3.02. Bv Depositor.


      The Depositor hereby represents and warrants to tire Program Lender that at the date of execution
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 20 of 26 Page ID #:319
 Exhibit 99.18



 and delivery of this Supplement by the Depositor;


        (a) The Depositor is duly organized and validly enisling as a limited liability company under the
 laws of the Stale of Delaware with the due power and authority to own its properties and to conduct its
 business as such properties arc currently owned and such business is presently conducted; and had at all
 relevant times, and has. the power, authority and legal right to acquire and own the Transferred Bank of
 America Loans.


        (b) The Depositor is duly qualified to do business and has obtained all necessary licenses and
 approvals in all jurisdictions in which the ownership or lease of property or the conduct of its business
 shall require such qualifications.


       (c) The Depositor has the power and authority to execute and deliver litis Supplement and to carry
out its respective terms; the Depositor has the power find authority to purchase the Transferred Bank of
America Loans and rights relating thereto as provided herein from the Program Lender, and the
Depositor lias duly authorized such purchase from the Program Lender by all necessary action; ami the
execution, delivery and performance of this Supplement has been duly authorized by the Depositor by
all necessary action on the part of the Depositor.


       (d) This Supplement, together with the Agreement of which this Supplement forms a part,
constitutes a legal, valid and binding obligation of the Depositor, enforceable in accordance with its
terms.


         (e) The consummation of the transactions contemplated by the Agreement and this Supplement
and the fulfillment of the terms hereof do not conflict with, result in any breach of any of the terms and
provisions of, or constitute (with or without notice or lapse of time) a default under, the governing
instruments of the Depositor or any indenture, agreement or other instrument to which the Depositor is a
party or by which it is bound; or result in the creation or imposition of any lien upon any of its properties
pursuant to the terms of any such indenture, agreement or other instrument; or violate any law or any
order, rule or regulation applicable to the Depositor of any court or of any federal or slate regulatory
body, administrative agency or other governmental instrumentality having jurisdiction over the
Depositor or its properties.


      (1) There are no proceedings or investigations pending, or threatened, before any court, regulatory
body, administrative agency or other governmental instrumentality having jurisdiction over the
Depositor or its properties: (i) asserting the invalidity of the Agreement or this Supplement, (ii) seeking
to prevent the consummation of any of the transactions contemplated by the Agreement or this
Supplement, or (iii) seeking any determination or ruling that is likely to materially or adversely affect
the performance by the Depositor of its obligations under, or the validity or enforceability of the
Agreement or this Supplement.


         Article 4: Cross Receipt,

      The Program Lender hereby acknowledges receipt of the Minimum Purchase Price. The Depositor
hereby acknowledges receipt of the Transferred Bank of America Loans.


         Article 5: Assignment of Origination, Guaranty and Servicinu Rights.

      The Program Lender hereby assigns and sets over to the Depositor any claims it may now or
hereafter have under the Guaranty Agreement, the Origination Agreement and the Servicing Agreement
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 21 of 26 Page ID #:320
 Exhibit 99.18



 to the extent the same relate to the Transferred Bank of America Loans described 111 Schedule K other
 than any right to obtain servicing after the date hereof. It is the intent of this provision to vest in the
 Depositor any claim of the Program Lender relating to detects in origination, guaranty or servicing of
 the loans purchased hereunder in order to permit the Depositor to assert such claims directly and obviate
any need to make the same claims against the Program Lender under this Supplement. The Program
Lender also hereby assigns and sets over to the Depositor any claims it may now have or hereafter have
to any collateral pledged by TERI to the Program Lender to secure its obligations under the Guaranty
Agreement that relates to the Transferred Bank of America J.oans, and the Program Lender hereby
releases any security interest it may have in such collateral, The Program Lender hereby authorizes the
Depositor, its successors and assigns, to file in any public filing office where a Uniform Commercial
 Code Filing with respect to collateral pledged by TERI is of record, any partial release or assignment
 that it deems necessary or appropriate to reflect in the public records the conveyance and assignment
 effected hereby.


                                  | Remainder o f page intentionally blank]

       IN WITNESS WHEREOF, the parlies have caused this Supplement Ui be executed as of the date
set forth above.


                                                       THE FIRST MARBLEHEAD CORPORATION



                                                       By: /s/ John A. Fox u rover
                                                           John A. Foxgiover
                                                           Senior Vice President

                                                       BANK OF AMERICA. N. A.



                                                       By: /s/ Elliott Lemon
                                                           Elliott Lemon
                                                             Vice President


                                                       THE NATIONAL COLLEGIA TE FUNDING LLC



                                                       By:     GATE Holdings, Inc., Member



                                                               By: sf John A. Foxurovcr
                                                                    John A. Foxgrover
                                                                    Vice President


                                                 Schedule 1

                                   [Transferred Bank of America Loans]




Direct to Consumer - Prior to June 22. 2006
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 22 of 26 Page ID #:321
 hxhibil 99J 8



           For Trajisferred Bank of America Loans for which applications were received by the Program
 Lender prior to June 22, 2006. for purposes of this Supplement the term "Minimum Purchase Price"
 shall mean the sum of the following amounts with respect 1o each of such Transferred Bank of America
 Loans to be purchased:

           (a) The unpaid principal amount (|*M) of the Transferred Bank of America Loans; plus


        (b) AIL accrued and unpaid interest on such Transferred Bank of America Loans, in accordance
 wilh the terms of the Bank of America F)TC Notes [**]; plus

      (c) All fees paid by tbc Program Lender to TBRI with respect to such Transient! Batik of
America Loans [**]; plus

      (d) The amount of any Guaranty Fees [**]; plus


      (e) A marketing fee and loan premium, [**]:


             1 . With respect to K-J2 Creditworthy Loans, [**]%;

             2. With respect to Continuing Hducation Creditworthy Loans, [**]% for [**} and [**]% for



           3. With respect to Undergraduate Creditworthy Loans, {**]% for [*"*]:[**]% for
for [**]; and |**|%for [**];and


             4. With respect to Graduate Creditworthy I.oans. [**]% for [**]; [**]% for ["'*]; \**]% for
[**]; and [**]% for [**).

Direct to Consumer - On or After .Tunc 22, 2006


     For Transferred Bank of America Loans for which applications were received by the Program
Lender on or after June 22, 2006, for purposes of this Supplement the term "Minimum Purchase Price"
shall mean the sum ofthe following amounts wilt respect to each of such Transferred Bank of .America
Loans to be purchased.


     (a)     The unpaid principal amount ([* *]) ol' the Transferred Bank of America Loans; plus

     (b)     All accrued and unpaid interest on such Transferred Bank of America 1 -oans, in accordance
             with the terms of the Bank uf America. Direct to Consumer Notes (as defined in the Guaranty
             Agreement) [+*]: plus

     (c)     To the extent not paid by Advanced Fees (as defined in Schedule 3.3 of the Guaranty
             Agreement):


             (")    [**] paid by Program Lender to TERI with respect to such Transferred Bank of America
                    Loans [**]; plus

             (ii)   The amount of any Subsequent Administrative Guaranty Fees (as defined in the
                    Guaranty Agreement) [**]: plus
Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 23 of 26 Page ID #:322
 Exhibit 99. IS



            (iii) The amount of any Guaranty Fees [**]; plus

            (iv) The amount of any Subsequent DSA Guaranty Fees (as defined in the Guaranty
                 Agreement) [*]; plus


      (d)   A marketing fee and loan premium, [**]:

             1.   with respect to Direct to Consumer K- 1 2 Creditworthy Loans, {* *]%;

            2.    with respect to Direct to Consumer Continuing Education Creditworthy Loans. [**)%
                  for [**], and [**]%for [**];

            3.    with respect to Direct to Consumer Undergraduate Creditworthy Loans. [**]% for [**]
                  and [**!% for [**];

            4.    with respect to Direct to Consumer Graduate Creditworthy I x>ans, | **]% for 1**1, and
                  [**]% for [**];

            5.    with respect to Direct to Consumer Undergraduate Creditworthy Expanded Tier Loans,
                  L**]%for [**];

            6.    with respect to Direct to Consumer Graduate Creditworthy Expanded Tier Loans, [**]%
                  for I**]; and

            7.    with respect to Direct to Consumer Continuing Education Creditworthy Expanded Tier
                  Loans. l**]% for [**].

     (e)    MINUS any Advanced Fees (as defined in Schedule 3.3 to lite Guaranty Agreement) [0,J.
          Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 24 of 26 Page ID #:323

                                                                                                             FILED
                                                                                                     SUPERIOR COURT OF CALIFORNIA
                                                                                                      COUNTY OF SAN BERNARDINO
                                                                                                       SAN BERNARDINO DISTRICT

                      LAW OFFICES OF
                 1
                      PATENAUDE & FELIX, A.P.C.                                                            OCT 21 2019
                2 Raymond A. Palenaudc, Esq. (#128855)
                      Michael D. Kahn, Esq. (#236898)                                           ev              Si.
                3     Stephanie J.Boone, Esq. (#1601 82)                                                   GLORIA MARIN DEPUTY
                      Todd C. Simonson, Esq. (#224346)
                4 Adam Michael Rivera, Esq. (#32 1 236)
                5     Angie Hong Hoar, Esq. (#2121 52)
                      4545 Murphy Canyon Road, 3rd Floor
                6     San Diego, California 92123
                      Tele: (858) 244-7600 Fax: (858) 836-0318
                7

                      Attorneys for Plaintiff
                8
                      NATIONAL COLLEGIATE STUDENT LOAN TRUST 2007-1, A DELAWARE STATUTORY
                9     TRUST(S)

                                                              SUPERIOR COURT OF CALIFORNIA
               20
                                COUNTY OF SAN BERNARDINO, SAN BERNARDINO JUSTICE CENTER -
               1 1                                                     UNLIMITED CASE

      o   2    12      NATIONAL COLLEGIATE STUDENT                                      Case No.     CIV DS           19 3 116 0-
y     s   s
4f    ^                LOAN TRUST 2007-1, A DELAWARE                                    DECLARATION RE: VENUE
               13
* <       c*
                       STATUTORY TRUST(S)?
      <
                                                                       Plaintiff,
               14
          o
                       V.
               15
m
S3*
          CO

          £    16
                       ALEKS1A M HEPNER,
                       and DOES 1 through 15, inclusive,
%     s   4:
a-
               17                                                  Defendants).

               18
                      The undersigned declare:
               19
                                      1.   That T am the attorney at law, duly licensed to practice before all Courts in the state
               20
                      of Calilomia.
               21
                                      2. I am an associate with the Law Offices of Paten aude & Felix, APC, counsel of
               22
                      record for Plaintiff herein.
               23
                                      3. I make this Declaration based on my personal knowledge, except for those items
               24
                      which arc stated to be based on my information and belief. If called to testify 1 could, and would,
               25
                      competently testify to the matters contained herein, based upon my personal knowledge, except for
               26
                      that which is stated to be based on my information and belief, and with the respect to those items, I
               27
                      believe them to be true.
               28

                                                                                    1

                                                              DECLARATION RE: VENUE
                     CA I0SB EFilii r\x- Venae Student Loan             PA F Pile No. W-5U54y
        Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 25 of 26 Page ID #:324




             1                    4. Based on the information in this office's file, this is the proper Judicial District

             2 because at least one Defendant resides in this Judicial District.

             3                     5. This Action is not subject to California Civil Code section 29S4.4 or California Civil

             4    Code section 1812.10.

             5                    I declare under the penalty of perjury under the laws ofthe State of California that die

             6 foregoing is true and correct. Executed on September 06, 201 9, San Diego, California.

             7


             8                                                                                            IS!
             9
                                                                           [ 1 UAYMOND a patenaude       • |   MIC I I'M- 1   l> KAIIN

                                                                           f 1 STEPHANIE J. noON):       ; )   JODL) C. S1MONSON
            10                                                             [ 1 ADAM MICHAEL RIVERA   |     |   ANCIUIIONOIIOAIt




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vs 8Bl I2   12


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                                                           DECLARATION RE: VENUE
                 rA   10.1B EFi!e Dec Venue Student Loan             P«£F rile No. llJ-50549
       Case 5:20-cv-02537-JWH-SP Document 24-2 Filed 03/12/21 Page 26 of 26 Page ID #:325




                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO


 NATIONAL COLLI- G1ATE STUDENT LOAN                                                          CASE N   CIV DS                  193 1 1 6 0-
 TRUST 2007- 1, A DELAWARE STATUTORY
 TRUST(S)
                                  VS7                                                        CERTIFICATE OF ASSIGNMENT
 ALtKSlA \i HEPNER,

 A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground is (he residence
 ofre party, name and residence shall be slated.

 The undersigned declares that the above-entitled matter is filed for proceedings in the                      SAN BERNARDINO
 District of the Superior Court under Rule 404 of this court for the checked reason:
            General                            E3 Collection
                Nature of Action                           Ground
         1.     Adoption                                   Petitioner resides within the district.
         2.     Conservator                                Petitioner or conservatee resides within the district.
         3.     Contract                                   Perfonnance in the district is expressly provided for.
         4.     Equity                                     The cause of action arose within the district.
         5.     Eminent Domain                             The property is located within the district.
         6.     Family Law                                 Plaintiff, defendant, petitioner or respondent resides within the district.
         7.     Guardianship                               Petitioner or ward resides within the district or has property within the district.
         S.     Harassment                                 Plaintiff, defendant, petitioner or respondent resides within the district.
         9-     Mandate                                    The defendant functions wholly within the district.
       10.      Name Change                                The petitioner resides within the district.
       11.      Personal Injury                            The injury occurred within the district.
       12.      Personal Property                          The property is located within the district.
       13.      Probate                                    Decedent resided or resides within the district or had properly within the
                                                           district
       14.      Prohibition                                The defendant functions wholly within the district.
       15.      Review                                     The defendant functions wholly within the district
       16.      Title to Real Property                     The property is located within the district.
       17.      Transferred Action                         The lower court is located within the district.
       13.      Unlawful Detainer                          The property is located within the district.
       19.      Domestic Violence                          The petitioner, defendant, plaintiff or respondent resides within the district.
       20.      Other
0      21 .     THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT.
 The address of the accident, performance, party, detention, place of business, or other factor which qualifies this case
 for filing in the above-designed district is:


 ALEKSIAM HEPNER
       (NAME - INDICATE UTIC OR OTHER QUALIFYING FACTOR)                                 (ADDRESS)


 RANCHO CUCAMONGA                                                                 CA                                              91730-6787

       (CITY!                                                                            (STATE!                                       (ZIP OOO E)


 I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was executed

 on ,September 06. 20 1 9                                                at SAN DIEGO                                              California


                                                                                                                ISI
                                                                                                          S'jASfu'fl oMM



                                                           CERTIFICATE OF ASSIGNMENT
 13-16503-390 Rev. 06-2014




CA ]<) Q-'ile SU ten Assignment                                                                                            P«l-Tile No. J 9-50549
